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  Exhibit 4 to CTX Motion for Protective Order
AOPage
  88 (Rev.106/09)
             of 8Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                         Western District
                                                      __________ District of
                                                                          of Texas
                                                                             __________

          The Lutheran Church--Missouri Synod                                 )
                              Plaintiff                                       )
                                  v.                                          )           Civil Action No. 1:23-cv-1042
                    Donald Christian, et al                                   )
                             Defendant                                        )

                                               AMENDED SUBPOENA TO APPEAR AND
                                                TESTIFY AT A HEARING OR TRIAL
                                                      IN A CIVIL ACTION
To:
        Nathaniel Hill
         YOU ARE COMMANDED to appear in the United States district court at the time, date, and place set forth below
to testify at a hearing or trial in this civil action. When you arrive, you must remain at the court until the judge or a court
officer allows you to leave. If you are an organization that is not a party in this case, you must designate one or more
officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about the following
matters, or those set forth in an attachment:




Place: Wright Watson & Associates, 1250 S. Capital of                                     Courtroom No.:
         Texas Hwy, Building 3, Suite 400                                                 Date and Time: 09/25/2024 1:00 pm
         Austin, Texas 78746

          You must also bring with you the following documents, electronically stored information, or objects (blank if not
applicable):
Documents responsive to the categories listed on the attached Exhibit A.



         The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Fed.
R. Civ. P. 45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing
so, are attached.



Date:       09/04/2024
                                  CLERK OF COURT
                                                                                             OR

                                                                                                           /s/ Steven C. Levatino
                                           Signature of Clerk or Deputy Clerk                                 Attorney’s signature



The name, address, e-mail, and telephone number of the attorney representing (name of party)                                  LCMS
                                                                , who issues or requests this subpoena, are:
Steven C. Levatino, Levatino|Pace PLLC, 1101 S. Capital of Texas Hwy, K-125, Austin, Texas 78746;
steven@lpfirm.com; 512/637-1581
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AO 88 (Rev.06/09) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action (page 2)

Civil Action No.         1:23-cv-1042

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                      .

          ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                              ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                                .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                   .

My fees are $                                 for travel and $                                 for services, for a total of $            0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                      Server’s signature



                                                                                                    Printed name and title




                                                                                                       Server’s address

Additional information regarding attempted service, etc:
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                               Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)
(c) Protecting a Person Subject to a Subpoena.                                 (d) Duties in Responding to a Subpoena.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                    (1) Producing Documents or Electronically Stored Information.
attorney responsible for issuing and serving a subpoena must take              These procedures apply to producing documents or electronically
reasonable steps to avoid imposing undue burden or expense on a                stored information:
person subject to the subpoena. The issuing court must enforce this                (A) Documents. A person responding to a subpoena to produce
duty and impose an appropriate sanction — which may include lost               documents must produce them as they are kept in the ordinary course
earnings and reasonable attorney’s fees — on a party or attorney               of business or must organize and label them to correspond to the
who fails to comply.                                                           categories in the demand.
   (2) Command to Produce Materials or Permit Inspection.                          (B) Form for Producing Electronically Stored Information Not
   (A) Appearance Not Required. A person commanded to produce                  Specified. If a subpoena does not specify a form for producing
documents, electronically stored information, or tangible things, or           electronically stored information, the person responding must produce
to permit the inspection of premises, need not appear in person at the         it in a form or forms in which it is ordinarily maintained or in a
place of production or inspection unless also commanded to appear              reasonably usable form or forms.
for a deposition, hearing, or trial.                                               (C) Electronically Stored Information Produced in Only One Form.
   (B) Objections. A person commanded to produce documents or                  The person responding need not produce the same electronically stored
tangible things or to permit inspection may serve on the party or              information in more than one form.
attorney designated in the subpoena a written objection to                         (D) Inaccessible Electronically Stored Information. The person
inspecting, copying, testing or sampling any or all of the materials or        responding need not provide discovery of electronically stored
to inspecting the premises — or to producing electronically stored             information from sources that the person identifies as not reasonably
information in the form or forms requested. The objection must be              accessible because of undue burden or cost. On motion to compel
served before the earlier of the time specified for compliance or 14           discovery or for a protective order, the person responding must show
days after the subpoena is served. If an objection is made, the                that the information is not reasonably accessible because of undue
following rules apply:                                                         burden or cost. If that showing is made, the court may nonetheless
     (i) At any time, on notice to the commanded person, the serving           order discovery from such sources if the requesting party shows good
party may move the issuing court for an order compelling production            cause, considering the limitations of Rule 26(b)(2)(C). The court may
or inspection.                                                                 specify conditions for the discovery.
     (ii) These acts may be required only as directed in the order, and          (2) Claiming Privilege or Protection.
the order must protect a person who is neither a party nor a party’s             (A) Information Withheld. A person withholding subpoenaed
officer from significant expense resulting from compliance.                    information under a claim that it is privileged or subject to protection
  (3) Quashing or Modifying a Subpoena.                                        as trial-preparation material must:
   (A) When Required. On timely motion, the issuing court must                     (i) expressly make the claim; and
quash or modify a subpoena that:                                                   (ii) describe the nature of the withheld documents, communications,
     (i) fails to allow a reasonable time to comply;                           or tangible things in a manner that, without revealing information
     (ii) requires a person who is neither a party nor a party’s officer       itself privileged or protected, will enable the parties to assess the
to travel more than 100 miles from where that person resides, is               claim.
employed, or regularly transacts business in person — except that,               (B) Information Produced. If information produced in response to a
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to               subpoena is subject to a claim of privilege or of protection as trial-
attend a trial by traveling from any such place within the state where         preparation material, the person making the claim may notify any
the trial is held;                                                             party that received the information of the claim and the basis for it.
     (iii) requires disclosure of privileged or other protected matter, if     After being notified, a party must promptly return, sequester, or
no exception or waiver applies; or                                             destroy the specified information and any copies it has; must not use
     (iv) subjects a person to undue burden.                                   or disclose the information until the claim is resolved; must take
   (B) When Permitted. To protect a person subject to or affected by           reasonable steps to retrieve the information if the party disclosed it
a subpoena, the issuing court may, on motion, quash or modify the              before being notified; and may promptly present the information to the
subpoena if it requires:                                                       court under seal for a determination of the claim. The person who
     (i) disclosing a trade secret or other confidential research,             produced the information must preserve the information until the claim
development, or commercial information;                                        is resolved.
     (ii) disclosing an unretained expert’s opinion or information that
does not describe specific occurrences in dispute and results from             (e) Contempt. The issuing court may hold in contempt a person who,
the expert’s study that was not requested by a party; or                       having been served, fails without adequate excuse to obey the
     (iii) a person who is neither a party nor a party’s officer to incur      subpoena. A nonparty’s failure to obey must be excused if the
substantial expense to travel more than 100 miles to attend trial.             subpoena purports to require the nonparty to attend or produce at a
   (C) Specifying Conditions as an Alternative. In the circumstances           place outside the limits of Rule 45(c)(3)(A)(ii).
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:
     (i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and
     (ii) ensures that the subpoenaed person will be reasonably
compensated.
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                                            Exhibit A

          1.     Your notes from all CTX Board of Regents meetings from January 2000 to date.

          2.     Your communications to any other member of the CTX Board of Regents from
   January 2000 to date.

           3.     Your communications with any person concerning the CTX Amendments (as that
   term is defined in LCMS’s most recently amended Complaint), before the CTX Amendments were
   passed.

           4.      Your communications with any person concerning the CTX Amendments (as that
   term is defined in LCMS’s most recently amended Complaint), after the CTX Amendments were
   passed.

          5.     The documents concerning the intent of the CTX Amendments.

        6.      The documents concerning any oath of office you took either as a member of the
   CTX Board of Regents, or as Chair of the Board of Regents.

          7.     Copies of Minority Reports from 2020 to the present.

          8.     Your communications with Kristi Kirk concerning the CTX Amendments.

          9.     Your communications with Donald Christian concerning the CTX Amendments.

        10.    Your communications with Christopher Bannwolf concerning the CTX
   Amendments.

          11.    Any preliminary drafts of the CTX Amendments.

          12.   Your communications with CTX Board of Regents members concerning the seating
   of board members following the passage of the CTX Amendments.

        13.     Your communications with Defendant Christian concerning the seating of board
   members following the passage of CTX Amendments.

        14.     Your communications with Defendant Bannwolf concerning the seating of board
   members following the passage of CTX Amendments.

          15.     Your communications with Kristi Kirk concerning the seating of board members
   following the passage of CTX Amendments.

          16.    Your communications with CTX donors concerning the CTX Amendments.
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          17.   Any communications with any individual (other than your attorneys) advising CTX
   regarding CTX Amendments.

           18.   Your communications with Defendant Christian concerning Defendant Christian’s
   email, dated November 9, 2022 (CTX 000247).

            19.      Any recordings of CTX Board of Regents meetings from January 2000 to date.

          20.        Any documents presented to the CTX Board of Regents at its November 8, 2022,
   meeting.

          21.        Any video presentations shown to CTX Board of Regents at its November 8, 2022,
   meeting.

        22.     Any computer-generated presentations shown to the CTX Board of Regents at its
   November 8, 2022, meeting.

          23.        Any documents presented to the CTX Board of Regents at its April 4, 2023,
   meeting.

          24.        Any video presentations shown to the CTX Board of Regents at its April 4, 2023,
   meeting.

           25.    Any computer-generated presentations shown to the CTX Board of Regents at its
   April 4, 2023, meeting.

           26.  Any communications between officers or agents of CTX and The LCMS regarding
   CTX amendments to its governing documents or policies occurring between 2021 to the present
   (these amendments are collectively referred to as “CTX Amendments”).

           27.    The communications between members of CTX Board of Regents relating to CTX
   Amendments, including communications leading up to the passing of CTX Amendments and the
   April 4, 2023, Board of Regents meeting reaffirming the passing of CTX Amendments.

          28.    The communications between any member of CTX Board of Regents and
   Defendant Christian relating to CTX Amendments, including communications leading up to the
   passing of CTX Amendments and the April 4, 2023, Board of Regents meeting reaffirming the
   passing of CTX Amendments.

          29.      The communications between any member of CTX Board of Regents and Kristi
   Kirk relating to CTX Amendments, including communications leading up to the passing of CTX
   Amendments and the April 4, 2023, Board of Regents meeting reaffirming the passing of CTX
   Amendments.

         30.    The communications between any member of CTX Board of Regents and
   Defendant Bannwolf relating to CTX Amendments, including communications regarding the



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   passing of CTX Amendments and the April 4, 2023, Board of Regents meeting reaffirming the
   passing of CTX Amendments.

            31.      Any preliminary drafts of The CTX Amendments.

           32.    The communications between members of the CTX Board of Regents relating to
   the effect of CTX Amendments.

           33.     The communications between any member of the CTX Board of Regents and
   anyone other than another board member, Defendant Christian, Defendant Bannwolf or Kristi Kirk
   relating to the effect of CTX Amendments.

         34.     The documents reflecting real property owned by CTX, or in which CTX has an
   ownership interest, even if that interest is subject to a lien or any other encumbrance.

          35.     The documents reflecting any attempt to sell or otherwise market real property
   owned by CTX, or in which CTX has an ownership interest, even if that interest is subject to a lien
   or any other encumbrance.

           36.    The communications between CTX Board of Regents members regarding the
   seating of board members following the passage of CTX Amendments.

           37.    The communications between any CTX Board of Regents member and Defendant
   Christian regarding the seating of board members following the passage of CTX Amendments.

          38.     The communications between any CTX Board of Regents member and Kristi Kirk
   regarding the seating of board members following the passage of CTX Amendments.

        39.     The communications between any CTX Board of Regents member and Defendant
   Bannwolf regarding the seating of board members following the passage of CTX Amendments.

        40.  Any communications with individual donors regarding CTX’s actions in passing
   CTX Amendments.

         41.         The documents relating to CTX’s refusal to seat regents elected at the 2023 Synod
   Convention.

           42.     Any documents relating to resolutions adopted at the 2023 Synod Convention
   including all documents relating to Defendant Christian’s, Defendant Bannwolf’s or CTX’s
   reactions or responses to these resolutions.

         43.     Any documents reflecting how each individual member of the CTX Board of
   Regents voted relating to each of the key resolutions presented in meetings on November 8, 2022,
   and April 4, 2023, as well as any documents reflecting the views of such members relating to
   CTX’s changes to its governing documents and policies.




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          44.    Any document reflecting how you voted relating to each of the key resolutions
   presented in meetings on November 8, 2022, and April 4, 2023.

           45.   Any documents regarding communications with individual members of the Texas
   District Board of Directors or with any congregation of the Texas District regarding CTX
   Amendments.

            46.      A copy of each draft of the Lutheran Identity statement.

          47.    Any document reflecting communication between any CTX Board of Regents
   member, Donald Christian, Christopher Bannwolf, and/or Kristi Kirk regarding the 7-03 task force
   which ultimately was adopted by Synod at Convention in 2023 and known to be as 7-04B – To
   Revise Bylaws to Revisit and Renew Relationship of Colleges and Universities with the Synod.

          48.    Communication between any CTX Board of Regents member, Donald Christian,
   Christopher Bannwolf, and/or Kristi Kirk leading up to and after the adoption of 7-03 at the 2023
   Synod Convention – To Call Concordia University Texas Leadership to Repentance.

          49.    Communication between any CTX Board of Regents member, Donald Christian,
   Christopher Bannwolf, and/or Kristi Kirk leading up to and after the adoption of 7-05A at the 2023
   Synod Convention -To Bring Accountability to Concordia Boards of Regents and to Improve
   Doctrinal Fidelity and Amenability to Ecclesiastical Supervision.

           50.    Communication between any CTX Board of Regents member, Donald Christian,
   Christopher Bannwolf, and/or Kristi Kirk regarding the topic of an “affiliate” or “agency” model
   relationship with the Synod.

          51.     Communication or documents between any CTX Board of Regents member,
   Donald Christian, Christopher Bannwolf, and/or Kristi Kirk related to appointing or electing
   regents that were not in accordance with the Synod bylaws.

          52.    Communication or documents between any CTX Board of Regents member,
   Donald Christian, Christopher Bannwolf, and/or Kristi Kirk related to Don Christian’s succession
   plans.

          53.    Communication or documents between any CTX Board of Regents member,
   Donald Christian, Christopher Bannwolf, and/or Kristi Kirk relating to the presidential search
   process.

          54.    Communication or documents between any CTX Board of Regents member,
   Donald Christian, Christopher Bannwolf, and/or Kristi Kirk relating to the qualifications of a CTX
   president.

         55.     Communication or documents between any CTX Board of Regents member,
   Donald Christian, Christopher Bannwolf, and/or Kristi Kirk relating to the CTX withdrawal from
   the CRP and CDSP.



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          56.     Communication or documents between any CTX Board of Regents member,
   Donald Christian, Christopher Bannwolf, and/or Kristi Kirk relating to the impact of the current
   lawsuit on enrollment and finances.

         57.     Communication or documents between any CTX Board of Regents member,
   Donald Christian, Christopher Bannwolf, and/or Kristi Kirk relating to Don Christian’s salary
   between 2019 – 2024.

          58.     Communication or documents between Officers or agents of CTX, any CTX Board
   of Regents member, Donald Christian, Christopher Bannwolf, and/or Kristi Kirk related to the
   debt with Frost Bank.




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